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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Ymagis SA
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             499 619 864
                                                        Other ___________________________.                     French SIREN Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Jean Mizrahi
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             redressement judiciaire
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               
                                           ✔      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                           
                                           ✔      Yes




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Debtor          Ymagis   SA
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        France
                                        ______________________________________________                   61 Boulevard, MacDonald
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Paris                                     75019
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         France
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 40 rue Gabriel Crie
                                                                                                         _________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Malakoff                                  92240
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 France
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              ymagis.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor         YmagisSA                                                                  Case number w1cnown1_____________
               Name



12. Why is venue proper in this   Check one:
   district?                      !f     Debtor's principal place of business or principal assets in the United States are in this district.
                                  □      Debtor does not have a place of business or assets in the United States, but the following
                                         action or proceeding in a federal or state court is pending against the debtor in this district:


                                  □      If neither box is checked, venue is consistent with the interests of justice and the convenience
                                         of the parties, having regard to the relief sought by the foreign representative, because:




13. Signature of foreign
    representative(s)
                                  I request relief in accordance with chapter 15 of title 11, United States Code.

                                  I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                  relief sought in this petition, and I am authorized to file this petition.

                                  I have examined the information in this petition and have a reasonable belief that the
                                  information is true and correct.

                                  I declare under penalty of perjury that t e foregoing is true and correct,


                                  X                                                                Jean Mizrahi
                                       Signature of foreign representative                         Printed name


                                  Executed on          07/27/2020
                                                       MM /DD/ YYYY


                                  X
                                       Signature of foreign representative                         Printed name


                                  Executed on
                                                       MM /OD/ YYYY



14. Signature of attorney         X                                                                Date        07/27/2020
                                        Signature of Attorney for foreign representative                       MM      / DD/YYYY

                                       Matthew K. Kelsey
                                       Printed name
                                       Gibson, Dunn & Crutcher LLP
                                       Firm name
                                       200 Park Avenue
                                       Number         Street

                                             =-- :..:._:Y--=o..;.;rk-'--____________ Nc.,cY___1.;..;o;._c1.,..c66_cc_ _______
                                       N..:.ew
                                       City                                                            State           ZIP Code


                                       {212) 351-2615                                                  mkelsey@gibsondunn.com
                                       Contact phone                                                   Email address



                                       4250296                                                         NY
                                       Bar number                                                      State




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Debtor         YmagisSA                                                                  Case number w1cnown1_____________
               Name



12. Why is venue proper in this   Check one:
   district?                      !f     Debtor's principal place of business or principal assets in the United States are in this district.
                                  □      Debtor does not have a place of business or assets in the United States, but the following
                                         action or proceeding in a federal or state court is pending against the debtor in this district:


                                  □      If neither box is checked, venue is consistent with the interests of justice and the convenience
                                         of the parties, having regard to the relief sought by the foreign representative, because:




13. Signature of foreign
    representative(s)
                                  I request relief in accordance with chapter 15 of title 11, United States Code.

                                  I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                  relief sought in this petition, and I am authorized to file this petition.

                                  I have examined the information in this petition and have a reasonable belief that the
                                  information is true and correct.

                                  I declare under penalty of perjury that t e foregoing is true and correct,


                                  X                                                                Jean Mizrahi
                                       Signature of foreign representative                         Printed name


                                  Executed on          07/27/2020
                                                       MM /DD/ YYYY


                                  X
                                       Signature of foreign representative                         Printed name


                                  Executed on
                                                       MM /OD/ YYYY



14. Signature of attorney         X                                                                Date        07/27/2020
                                        Signature of Attorney for foreign representative                       MM      / DD/YYYY

                                       Matthew K. Kelsey
                                       Printed name
                                       Gibson, Dunn & Crutcher LLP
                                       Firm name
                                       200 Park Avenue
                                       Number         Street

                                             =-- :..:._:Y--=o..;.;rk-'--____________ Nc.,cY___1.;..;o;._c1.,..c66_cc_ _______
                                       N..:.ew
                                       City                                                            State           ZIP Code


                                       {212) 351-2615                                                  mkelsey@gibsondunn.com
                                       Contact phone                                                   Email address



                                       4250296                                                         NY
                                       Bar number                                                      State




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                Certified Copy of Decision Commencing Foreign Proceeding and
                                      English Translation
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                       Statement Identifying Pending Foreign Proceedings
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GIBSON, DUNN & CRUTCHER LLP
Matthew K. Kelsey
Alan Moskowitz
200 Park Avenue
New York, NY 10166
(212) 351-4000 (Tel)
(212) 351-4035 (Fax)

Counsel to the Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                           Chapter 15

 YMAGIS SA,1                                                      Case No. 20-______ (__)

                   Debtor in a Foreign Proceeding.



               DECLARATION OF FOREIGN REPRESENTATIVE PURSUANT TO
                     SECTION 1515(C) OF THE BANKRUPTCY CODE

          I, Jean Mizrahi, hereby declare:

          1.      I am a duly authorized foreign representative (a “Foreign Representative”) of

Ymagis SA, as a debtor in a foreign proceeding (the “Foreign Debtor”) in connection with its

redressement judiciaire proceeding under French law pending in the Commercial Court of Paris

(Tribunal de commerce de Paris) (the “Foreign Proceeding”).

          2.      I respectfully submit this statement, as required by section 1515(c) of title 11 of the

United States Code (the “Bankruptcy Code”), in support of the verified petition filed herewith

seeking recognition by this Court of the Foreign Proceeding as a foreign main proceeding.




 1
     The Foreign Debtor’s French SIREN Number is 499 619 864. The location of the Foreign Debtor’s registered
     office is 61 Boulevard, MacDonald, 75019 Paris, France.
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       3.     Pursuant to the requirements of section 1515(c) of the Bankruptcy Code, to the best

of my knowledge, the Foreign Proceeding is the only foreign proceeding of any kind pending for

the Foreign Debtor and, thus, is the only known “foreign proceeding” with respect to the Foreign

Debtor as that term is defined in section 101(23) of the Bankruptcy Code.



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       Pursuant to 28 U.S.C. § 1746, 1 hereby declare under penalty of perjury under the laws of

the United States of America that the foregoing statements are true and correct to the best of my

knowledge, information and belief.




Executed on July 27, 2020.


                                                    /s/ Jean Mizrahi
                                                    Name: Jean Mizrahi
                                                    Title: Foreign Representative
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       Disclosure Pursuant Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure
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Matthew K. Kelsey
Alan Moskowitz
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New York, NY 10166
(212) 351-4000 (Tel)
(212) 351-4035 (Fax)

Counsel to the Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                           Chapter 15

 YMAGIS SA,1                                                      Case No. 20-______ (__)

                  Debtor in a Foreign Proceeding.



            DISCLOSURE PURSUANT TO RULE 1007(A)(4) OF THE FEDERAL
                     RULES OF BANKRUPTCY PROCEDURE

          Jean Mizrahi, in his capacity as the duly authorized foreign representative (the “Foreign

Representative”) of Ymagis SA as a debtor in a foreign proceeding (the “Foreign Debtor”) in

connection with its redressement judiciaire proceeding under French law (the “Foreign

Proceeding”) pending in the Commercial Court of Paris (Tribunal de commerce de Paris) (the

“French Court”) hereby files this list pursuant to Rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure and respectfully set forth as follows:




 1
     The Foreign Debtor’s French SIREN Number is 499 619 864. The location of the Foreign Debtor’s registered
     office is 61 Boulevard, MacDonald, 75019 Paris, France.
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  I.      All Persons or Bodies Authorized to Administer the Foreign Proceeding

                             Name                                          Address

       Jean Mizrahi, as Foreign Representative          (i) Digital Cinema North America – 127 West
                                                        26th Street – Suite 501 – 10001 New York
                                                        (USA), and (ii) 40 rue Gabriel Crié, 92240
                                                        Malakoff, France
       Paul-Louis Netter, President of the Commercial 1 quai de la Corse, 75004 Paris
       Court of Paris
       Patrick Coupeaud, Supervisory Judge, (juge- 1 quai de la Corse, 75004 Paris
       commissaire)
       SELARL 2M, as Judiciary Administrator 22 rue de l’Arcade, 75008 Paris
       (administrateur judiciaires), acting through
       Carole Martinez
       Solve,     as      Judiciary       Administrator 41 rue du Four, 75006 Paris
       (administrateur judiciaires), acting through
       Jonathan El Baze
       SELAFA MJA, as Creditors’ Representative 102 rue du Faubourg Saint-Denis, 75010
       (mandataire judiciaires), acting through Valérie Paris
       Leloup-Thomas
       SELARL AXYME, as Creditors’ Representative 62 boulevard de Sébastopol, 75003 Paris
       (mandataire judiciaires), acting through Jean-
       Charles Demortier

 II.      All Parties to Litigation Pending in the United States in Which the Foreign Debtor is a
          Party at the Time of Filing of the Petition

              1.      Neither Foreign Representative nor the Foreign Debtor is party to any pending

       litigation in the United States as of the date hereof.

III.      Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

              2.      The Foreign Representative seeks provisional relief pursuant to sections 1519,

       1521(a)(7), 362, and 365(e) of the title 11 of the U.S. Code (the “Bankruptcy Code”) by applying

       sections 362 and 365(e) of the Bankruptcy Code immediately for the benefit of the Foreign Debtor




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against potential action in the United States by dissenting creditors. See Schedule 1 annexed hereto

for a list of known entities against whom provisional relief is being sought.2




 2
     The Foreign Representative will update Schedule 1 to the extent he becomes aware of any additional entities
     against whom provisional relief is being sought.



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 Dated:   New York, New York
          July 27, 2020

                                     Respectfully submitted,
                                     GIBSON, DUNN & CRUTCHER LLP

                                     /s/ Matthew K. Kelsey
                                     Matthew K. Kelsey
                                     Alan Moskowitz
                                     200 Park Avenue
                                     New York, NY 10166
                                     (212) 351-4000 (Tel)
                                     (212) 351-4035 (Fax)

                                     Counsel to the Foreign Representative




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                                                 SCHEDULE 1


      Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 15193

Paramount Pictures Corporation                                Walt Disney Studios Motion Pictures
5555 Melrose Avenue                                           International
Los Angeles, CA 90038                                         350 South Buena Vista Street
Attn: EVP Theatrical Distribution Operations                  Burbank, CA 91521
                                                              Attn: Adam Hancock, Executive Director of
                                                              Sales and Distribution

Paramount Pictures International                              Walt Disney Studios Motion Pictures
Chiswick Business Park, Building 5                            International
566 Chiswick High Road                                        350 South Buena Vista Street
London W4 5YF                                                 Burbank, CA 91521-1233
Attn: EVP General Counsel                                     Attn: VP, Business and Legal Affairs

Universal Pictures International France SAS                   Twentieth Century Fox Film Corporation
21, Rue Francois 1 er                                         Attention: Julian Levin, EVP
Paris 75008 France                                            10201 West Pico Boulevard, Bldg 86, Room
Attention: Managing Director                                  202
                                                              Los Angeles, CA 90064
                                                              Facsimile: 310-369-3926
Universal Studios International B.V.                          Twentieth Century Fox International
Hagedoornplein 2                                              Attention: Mary McLaren, COO International
1031 BV Amsterdam, The Netherlands                            Theatrical and Home Entertainment
Attention: VP Legal                                           2121 Avenue of the Stars, Suite 1100
                                                              Los Angeles, CA 90067
                                                              Facsimile: 310-369-1991
Universal City Studios LLLP                                   Twentieth Century Fox Film Corporation
c/o Universal Pictures                                        Attention: Legal Department, and Michael
100 Universal City Plaza, 2160/7                              Doodan Esq.
Universal City, CA 91608                                      2121 Avenue of the Stars, Suite 1400
U.S.A.                                                        Los Angeles, CA 90067
Attention: SVP Digital Platforms                              Facsimile: 310-369-3595
Universal City Studios LLLP                                   Universal Pictures International Limited
c/o Universal Pictures                                        Oxford House
100 Universal City Plaza, 1280/6                              76 Oxford Street
Universal City, CA 91608                                      London W1D 1BS, United Kingdom
Attention: VP Intellectual Property                           Attention: SVP Legal
Digital Cinema Operations                                     Warner Bros. Pictures International, a
Sony Pictures Releasing                                       division of Warner Bros. Distributing Inc.

 3
     Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Verified
     Petition Under Chapter 15 for Recognition of a Foreign Main Proceeding, filed contemporaneously herewith.



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10202 W. Washington Blvd.                          4000 Warner Blvd., Bldg. 154, Room 3204
Culver City, CA 90232                              Burbank, CA 91522
Attn: Senior VP of Digital Cinema Operations       Attn: Thomas Molter, Senior VP,
Scott_sherr@spe.sony.com                           International Distribution

Sony Pictures Entertainment                        Warner Bros. Pictures International, a
Office of General Counsel                          division of Warner Bros. Distributing Inc.
10202 W. Washington Blvd.                          4000 Warner Blvd., Bldg. 154, Room 3204
Culver City, CA 90232                              Burbank, CA 91522
Attn: Legal Department Representative              Attn: Damon Bonesteel, Senior VP, Legal &
Jonathan_gordon@spe.sony.com                       Business Affairs




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                                       Item 11

                            Corporate Ownership Statement
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Matthew K. Kelsey
Alan Moskowitz
200 Park Avenue
New York, NY 10166
(212) 351-4000 (Tel)
(212) 351-4035 (Fax)

Counsel to the Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                           Chapter 15

 YMAGIS SA,1                                                      Case No. 20-______ (__)

                  Debtor in a Foreign Proceeding.



                          CORPORATE OWNERSHIP STATEMENT
                       PURSUANT TO BANKRUPTCY RULES 1007(A)(4)
                           AND 7007.1 AND LOCAL RULE 1007-3

          Jean Mizrahi, in his capacity as the duly authorized foreign representative (the “Foreign

Representative”) of Ymagis SA as a debtor in a foreign proceeding (the “Foreign Debtor”) in

connection with its redressement judiciaire proceeding under French law pending in the

Commercial Court of Paris (Tribunal de commerce de Paris) (the “Foreign Proceeding”), hereby

files the corporate ownership information required by Rules 1007(a)(4) and 7007.1 of the Federal

Rules of Bankruptcy Procedure and Rule 1007-3 of the Local Bankruptcy Rules for the Southern

District of New York.

          1.     As of the date of this filing, the only entity that owns, directly or indirectly, 10% or

more of the equity interests of the Foreign Debtor is Targetin SAS.



 1
     The Foreign Debtor’s French SIREN Number is 499 619 864. The location of the Foreign Debtor’s registered
     office is 61 Boulevard, MacDonald, 75019 Paris, France.
